Case 1:17-cv-02003-GBD-SN Document 73-2 Filed 07/10/18 Page 1 of 8




                           EXHIBIT B
         Case 1:17-cv-02003-GBD-SN Document 73-2 Filed 07/10/18 Page 2 of 8




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

In re:
                                                                       03-MDL-1570 (GBD)(SN)
         TERRORIST ATTACKS ON
         SEPTEMBER 11, 2001

-----------------------------------------------------------------X

XXX
XXX,
                                                                      XX-CV-XXXXX (GBD)(SN)
                                            Plaintiff(s),
                                                                     SAUDI ARABIA SHORT FORM
                          -against-                                   COMPLAINT AND DEMAND
                                                                        FOR TRIAL BY JURY
KINGDOM OF SAUDI ARABIA,

                                            Defendant.

-----------------------------------------------------------------X

         Plaintiffs named herein by and through the undersigned counsel file this Short Form

Complaint against Defendant, the Kingdom of Saudi Arabia, arising out of the September 11,

2001 terrorist attacks (“September 11, 2001 Terrorist Attacks”), as permitted and approved by

the Court’s Order of June ___, 2018, ECF No. _________. Each Plaintiff incorporates by

reference the specific allegations, as indicated below, of (a) the Consolidated Amended

Complaint as to the Kingdom of Saudi Arabia, ECF No. 3463, or (b) the Complaint Against the

Kingdom of Saudi Arabia, Ashton v. Kingdom of Saudi Arabia, No. 17-CV-2003 (GBD)(SN)

(S.D.N.Y. Mar. 30, 2017), ECF No. 1.

         Upon filing this Saudi Arabia Short Form Complaint, each Plaintiff is deemed to have

adopted all factual and jurisdictional allegations of the complaint that has been joined as



                                                        1
      Case 1:17-cv-02003-GBD-SN Document 73-2 Filed 07/10/18 Page 3 of 8




specified below; all prior filings in connection with that complaint; and all prior Orders and

rulings of the Court in connection with that complaint.

                                               VENUE

       1.      Venue in this district is proper pursuant to 28 U.S.C. §§ 1391(b)(2) and

1391(f)(1), as a substantial part of the events giving rise to the claims asserted herein occurred in

this district. Venue is also proper in this district pursuant to 18 U.S.C. § 2334(a).

                                         JURISDICTION

       2.      Jurisdiction is premised on the grounds set forth in the complaints specified

below, and further, jurisdiction of this Saudi Arabia Short Form Complaint is premised upon and

applicable to all defendants in this action:

               28 U.S.C. § 1605(a)(5) (non-commercial tort exception)

               28 U.S.C. § 1605B (Justice Against Sponsors of Terrorism Act)

               28 U.S.C. § 1330 (actions against foreign states)

               Other (set forth below the basis of any additional ground for jurisdiction and
               plead such in sufficient detail as per the FRCP): ___________________________

               __________________________________________________________________

               _________________________________________________________________.

                                      CAUSES OF ACTION

       3.      Each Plaintiff hereby adopts and incorporates herein by reference the following

factual allegations, jurisdictional allegations, and jury trial demand in the following complaint

[check only one complaint] and the following causes of action set forth in that complaint:




                                                  2
Case 1:17-cv-02003-GBD-SN Document 73-2 Filed 07/10/18 Page 4 of 8




      Consolidated Amended Complaint as to the Kingdom of Saudi Arabia, ECF
      No. 3463 (check all causes of action that apply)

            COUNT I – Aiding and Abetting and Conspiring with Al Qaeda to
            Commit the September 11th Attacks upon the United States in violation of
            18 U.S.C. § 2333(d) (JASTA).

            COUNT II – Aiding and Abetting and Conspiring with Al Qaeda to
            Commit the September 11th Attacks upon the United States in violation of
            18 U.S.C. § 2333(a).

            COUNT III – Committing Acts of International Terrorism in violation of
            18 U.S.C. § 2333.

            COUNT IV – Wrongful Death.

            COUNT VI – Alien Tort Claims Act.

            COUNT VII – Assault and Battery.

            COUNT VIII – Conspiracy.

            COUNT IX – Aiding and Abetting.

            COUNT X – Intentional Infliction of Emotional Distress.

            COUNT XII – Liability Pursuant to Restatement (Second) of Torts § 317
            and Restatement (Third) of Agency § 7.05: Supervising Employees and
            Agents.

            COUNT XIII – Liability Pursuant to Restatement (Second) of Torts § 317
            and Restatement (Third) of Agency § 7.05: Hiring, Selecting, and
            Retaining Employees and Agents.

            COUNT XIV – 18 U.S.C. § 1962(a)–(d) – CIVIL RICO.

            COUNT XV – Trespass.

            COUNT XVI – Violations of International Law.

      Complaint Against the Kingdom of Saudi Arabia, Ashton v. Kingdom of
      Saudi Arabia, No. 17-CV-2003 (GBD)(SN) (S.D.N.Y. Mar. 30, 2017), ECF
      No. 1 (check all causes of action that apply)

            First Cause of Action to Recover Wrongful Death Damages Pursuant to 28
            U.S.C. § 1605B (the Justice Against Sponsors of Terrorism Act or
            JASTA) and 18 U.S.C. § 2333 et seq. (the Anti-Terrorism Act or ATA)
                                    3
      Case 1:17-cv-02003-GBD-SN Document 73-2 Filed 07/10/18 Page 5 of 8




                      First Cause of Action to Recover Personal Injury Damages Pursuant to 28
                      U.S.C. § 1605B (the Justice Against Sponsors of Terrorism Act or
                      JASTA) and 18 U.S.C. § 2333 et seq. (the Anti-Terrorism Act or ATA)

                      Second Cause of Action for Wrongful Death Damages Pursuant to State
                      Tort Law

                      Second Cause of Action for Personal Injury Damages Pursuant to State
                      Tort Law

                      Third Cause of Action for Wrongful Death Damages Pursuant to the Alien
                      Tort Claims Act

                      Third Cause of Action for Personal Injury Damages Pursuant to the Alien
                      Tort Claims Act

               Each Plaintiff asserts the following additional theories and/or Causes of Action
               against the Kingdom of Saudi Arabia: ___________________________________

               __________________________________________________________________

               _________________________________________________________________.

                            IDENTIFICATION OF PLAINTIFFS

       4.      The following allegations and information are alleged on behalf of each

individual who is bringing this claim, as indicated on Appendix 1 to this Saudi Arabia Short

Form Complaint, herein referred to as “Plaintiffs.”

               a. The citizenship/nationality of each Plaintiff is indicated at Appendix 1 to this
                  Saudi Arabia Short Form Complaint.

               b. Plaintiff is entitled to recover damages on the causes of action set forth in this
                  Saudi Arabia Short Form Complaint.

               c. As indicated at Appendix 1, Plaintiff (i) is the estate representative of
                  someone who was killed as a result of the September 11, 2001 Terrorist
                  Attacks; (ii) is the surviving immediate family member of someone who was
                  killed as a result of the September 11, 2001 Terrorist Attacks; and/or (iii)
                  suffered physical injuries as a result of the September 11, 2001 Terrorist
                  Attacks.

               d. For those plaintiffs with personal injury claims, as indicated in Appendix 1, on
                  or after September 11, 2001, said Plaintiff was present at the Pentagon and/or
                                                 4
      Case 1:17-cv-02003-GBD-SN Document 73-2 Filed 07/10/18 Page 6 of 8




                   the World Trade Center site and/or its surroundings and/or lower Manhattan
                   and/or at an area wherein he/she was exposed to toxins as a result of the
                   terrorist attacks and was exposed to toxins from the attacks, and/or was
                   otherwise injured, and/or as otherwise alleged, as stated specifically in
                   Appendix 1.

               e. For those plaintiffs with personal injury and/or wrongful death claims, as
                  indicated in Appendix 1, as a direct, proximate and foreseeable result of
                  Defendant’s actions or inactions, Plaintiff or his or her decedent suffered
                  bodily injury and/or death, and consequently economic and other losses,
                  including but not limited to pain and suffering, emotional distress,
                  psychological injuries, and loss of enjoyment of life, and/or as described in the
                  Saudi Arabia Short Form Complaint, and/or as otherwise may be specified in
                  subsequent discovery proceedings, and/or as otherwise alleged in Appendix 1.

               f. The name, relationship to the injured and/or deceased September 11 victim,
                  residency, citizenship/nationality, and the general nature of the claim for each
                  plaintiff asserting wrongful death and/or solatium claims is listed on the
                  attached Appendix 1, and is incorporated herein as allegations, with all
                  allegations of the related complaints, as specified above, deemed alleged as to
                  each Plaintiff.

                          IDENTIFICATION OF THE DEFENDANT

       5.      The only Defendant named in this Saudi Arabia Short Form Complaint is the

Kingdom of Saudi Arabia.

                              NO WAIVER OF OTHER CLAIMS

       6.      By filing this Saudi Arabia Short Form Complaint, Plaintiff(s) is/are not waiving

any right to file suit against any other potential defendants or parties.

       7.      By filing this Saudi Arabia Short Form Complaint, Plaintiff(s) are not opting out

of any class that the Court may certify in the future.

                                         JURY DEMAND

       8.      Each Plaintiff hereby demands a trial by jury as to the claims in this action.




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      Case 1:17-cv-02003-GBD-SN Document 73-2 Filed 07/10/18 Page 7 of 8




       WHEREFORE, Plaintiffs pray for relief and judgment against Defendant as set forth in

this Saudi Arabia Short Form Complaint as appropriate.



Dated: ____________________



                                                  Respectfully submitted,



                                                  ____________________________________

                                                  COUNSEL FOR PLAINTIFFS




                                              6
      Case 1:17-cv-02003-GBD-SN Document 73-2 Filed 07/10/18 Page 8 of 8




                                                  APPENDIX 1

        Each line below is deemed an allegation, incorporating the allegations, language, and

references within the Saudi Arabia Short Form Complaint to which this Appendix 1 is appended

and shall be referenced as Allegation 1 of Appendix 1 to the Saudi Arabia Short Form

Complaint, Allegation 2 of Appendix 1 to the Saudi Arabia Short Form Complaint, etc.

     Plaintiff’s     Plaintiff’s   Plaintiff’s     9/11         Plaintiff’s    9/11           Nature of
     Name            State of      Citizenship/    Decedent’s   Relationship   Decedent’s     Claim
     (alphabetical   Residency     Nationality     Full Name    to 9/11        Citizenship/   (wrongful
     by last name)   at Filing     on 9/11/2001                 Decedent       Nationality    death,
                     (or death)                                                on 9/11/2001   solatium,
                                                                                              personal
                                                                                              injury)
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